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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF MAINE


    MATHIEW LOISEL,

                   Plaintiff
                                                               Case No. 1:19-cv-00081-NT
                   v.

    ROBERT CLINTON, M.D., et al.,

                   Defendants


                    ANSWER OF DEFENDANTS RANDALL LIBERTY,
                 MATTHEW MAGNUSSON, AND MAINE DEPARTMENT OF
                  CORRECTIONS TO THE FIRST AMENDED COMPLAINT

         NOW Come Defendants Randall Liberty, Matthew Magnusson, and Maine Department of

Corrections, by and through undersigned counsel, and hereby answer Plaintiff’s Amended

Complaint (Docket # 26) as follows:

         Defendants Randall Liberty, Matthew Magnusson, and Maine Department of Corrections

(hereinafter “Government Defendants”) deny the introductory statement contained in Plaintiff’s

amended complaint to the extent Plaintiff asserts any statements of fact, including the statement

that Defendants engaged in a practice of withholding curative treatment.

                                                  INTRODUCTION 1

1. Government Defendants admit that Plaintiff is an inmate in the custody of the Maine

      Department of Corrections (hereinafter “MDOC”) and that Plaintiff has been diagnosed with

      the Hepatitis C virus (“HCV”). Defendants lack sufficient information or knowledge to form

      a belief about the truth of the remaining allegations in paragraph 1.


1
 The Government Defendants have organized this answer in light of the headings used by Plaintiff in his first amended
complaint for ease of reference, but the use of such headings by Government Defendants should not be construed to
denote or imply any admission of fact.

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2. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

3. To the extent that Plaintiff is alleging that MDOC routinely and systematically fails to provide

   adequate medical care to inmates, Government Defendants deny that allegation. Government

   Defendants further deny the allegation that Wellpath, LLC, was acting on behalf of the Maine

   State Prison. Government Defendants otherwise lack sufficient information or knowledge to

   form a belief about the truth of the allegations in this paragraph and therefore deny the

   allegations.

4. Government Defendants deny the allegations in paragraph 4.

5. Government Defendants deny the allegations in paragraph 5.

6. Government Defendants deny the allegations in paragraph 6.

7. This paragraph does not require a response because it does not allege any facts. To the extent

   a response is required, Government Defendants deny that Plaintiff is entitled to the relief being

   requested and further deny any allegations in this paragraph.

                                              PARTIES

8. Government Defendants admit that Plaintiff was sentenced to 30 years in prison in February

   2008, at 22 years old, and that Plaintiff is incarcerated at the Maine State Prison in Warren.

   Government Defendants further admit that Plaintiff is in the legal custody of MDOC and that

   MDOC exerts a certain degree of control over Plaintiff as an MDOC inmate. Government

   Defendants otherwise deny the allegations of this paragraph.

9. Government Defendants admit that Wellpath, LLC, contracts with MDOC to provide medical

   services to inmates at MDOC facilities, including the Maine State Prison and further admit that

   Wellpath was formerly known as Correct Care Solutions LLC and has a regional office in



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   Maine. Government Defendants lack sufficient information or knowledge to form a belief

   about the truth of the other allegations in this paragraph and therefore deny the allegations.

10. Government Defendants admit the allegations in paragraph 10.

11. Government Defendants admit the allegations in paragraph 11.

12. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

13. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

14. Government Defendants admit that Randall Liberty is the Commissioner of MDOC. The

   remaining allegations are legal conclusions to which no response is required. To the extent a

   response is required or the allegations are statements of fact, Government Defendants admit

   that the Commissioner has general supervision, management and control of the research and

   planning, grounds, buildings, property, officers, employees and clients of any correctional

   facility, detention facility or correctional program, and that he is sued in his official capacity,

   and otherwise deny the allegations of this paragraph.

15. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations and therefore deny the allegations.

16. Government Defendants admit that Matthew Magnusson is the Warden of the Maine State

   Prison and that he is sued in his official capacity. The remaining allegations are legal

   conclusions to which no response is required. To the extent a response is required or the

   allegations are statements of fact, Government Defendants admit that the Warden of the Maine

   State Prison has supervision and control of the inmates, pretrial detainees, employees, grounds,

   buildings and equipment at the prison, and otherwise deny the allegations of this paragraph.



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17. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

18. Government Defendants admit that the MDOC is a Department of the State of Maine and is

   responsible for the direction and general administrative supervision, guidance and planning of

   both adult and juvenile correctional facilities and programs within the State. Government

   Defendants further admit that MDOC’s responsibilities include, among other things, ensuring

   that those persons in its custody receive adequate medical care. Government Defendants

   otherwise deny the allegations of paragraph 18.

                                        JURISDICTION

19. This paragraph states legal conclusions to which no response is required. To the extent a

   response is required or the paragraph contains any allegations that are statements of fact,

   Government Defendants deny the allegations.

20. This paragraph states legal conclusions to which no response is required. To the extent a

   response is required or the paragraph contains any allegations that are statements of fact,

   Government Defendants deny the allegations.

21. This paragraph states legal conclusions to which no response is required. To the extent a

   response is required or the paragraph contains any allegations that are statements of fact,

   Government Defendants deny the allegations.

22. Government Defendants do not contest venue in this matter. To the extent Plaintiff alleges a

   fact in this paragraph, Government Defendants deny the allegations.

23. Government Defendants deny the allegations in paragraph 23.




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                                             FACTS

   A. Chronic HCV

24. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations. With respect to

   the statement of the Centers for Disease Control and Prevention (“CDC”), the referenced

   factsheet from the CDC speaks for itself and requires no further response from Government

   Defendants.

25. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

26. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

27. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

28. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

29. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

30. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

31. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

32. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.



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33. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

34. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

   B. HCV in Prisons

35. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

36. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

37. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations and therefore deny the allegations.

38. Government Defendants deny the allegations in paragraph 38.

39. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

40. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

   C. Appropriate Treatment of HCV

41. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

42. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

43. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.



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44. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

45. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

46. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

   D. Defendants’ Treatment Policy

47. Government Defendants deny the allegations in paragraph 47.

48. Government Defendants deny that, as of October 31, 2017, MDOC was aware that more than

   580 Maine prisoners were infected with chronic HCV. Government Defendants admit that, as

   of October 31, 2017, an inmate was treated for chronic HCV who had already started a course

   of DAAs when he was taken into DOC custody. Government Defendants otherwise lack

   sufficient information or knowledge to form a belief about the truth of the allegations in this

   paragraph and therefore deny the allegations.

49. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

50. Government Defendants deny the allegations in paragraph 50.

51. Government Defendants deny the allegations in paragraph 51.

52. Government Defendants deny the allegations in paragraph 52.

53. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

54. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.



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55. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

56. Government Defendants deny the allegations in paragraph 56.

57. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

   E. The Course and Treatment of Loisel’s Chronic HCV

58. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

59. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

60. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

61. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

62. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

63. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

                                CLASS ACTION ALLEGATIONS

64. This paragraph states legal conclusions to which no response is required. To the extent a

   response is required or the paragraph contains allegations of fact, Government Defendants

   deny the allegations.

65. Government Defendants deny the allegations in paragraph 65.



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66. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

67. Government Defendants deny the allegations in paragraph 67.

68. Government Defendants deny the allegations in paragraph 68.

69. Government Defendants deny the allegations in paragraph 69.

70. Government Defendants deny the allegations in paragraph 70.

71. Government Defendants deny the allegations in paragraph 71.

                                 CAUSES OF ACTION
Count I — Eighth and Fourteenth Amendments to the U.S. Constitution, 42 U.S.C. § 1983
        Brought by Plaintiff on his own behalf and on behalf of the putative class

72. Government Defendants repeat and reassert their responses to the allegations in paragraphs 1

   to 71 as if fully set forth herein.

73. Government Defendants lack sufficient information or knowledge to form a belief about the

   truth of the allegations in this paragraph and therefore deny the allegations.

74. Government Defendants deny the allegations in paragraph 74.

75. Government Defendants deny the allegations in paragraph 75.

           Count II— Americans with Disabilities Act, 42 U.S.C. § 12131, et seq.
          Brought by Plaintiff on his own behalf and on behalf of the putative class

76. Government Defendants repeat and reassert their responses to the allegations in paragraphs 1

   to 75 as if fully set forth herein.

77. This paragraph states legal conclusions to which no response is required. To the extent a

   response is required or the paragraph contains allegations of fact, Government Defendants

   admit the allegations.




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78. This paragraph states legal conclusions to which no response is required. To the extent a

   response is required or the paragraph contains allegations of fact, Government Defendants

   admit the allegations.

79. Government Defendants admit that MDOC is a public entity as defined by the ADA, but as to

   the remaining allegations in this paragraph, Government Defendants lack sufficient

   information or knowledge to form a belief about the truth of the allegations and therefore deny

   the allegations.

80. Government Defendants admit that MDOC has contracted with Wellpath, with whom Robert

   Clinton, M.D., and Nurse Practitioner Liberty are employed. Government Defendants

   otherwise lack sufficient information or knowledge to form a belief about the truth of the

   remaining allegations in this paragraph and therefore deny the allegations.

81. Government Defendants deny the allegations in paragraph 81.

82. Government Defendants deny the allegations in paragraph 82.

83. Government Defendants deny that MDOC maintains policies or practices that depart from the

   provision of appropriate treatment of a serious medical condition on the basis of non-medical

   considerations. Government Defendants are otherwise without sufficient information or

   knowledge to form a belief about the truth of the allegations in this paragraph and therefore

   deny the allegations.

84. Government Defendants deny the allegations in paragraph 84.

                                    PRAYER FOR RELIEF

       Government Defendants deny that Plaintiff and the members of the alleged Putative Class

are entitled to the relief they seek, and Government Defendants request that this Court dismiss the

amended complaint, enter judgment in their favor, and award them costs.



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                                       Demand For Jury Trial

       Government Defendants hereby submit this demand for a jury trial on any issue triable by

jury pursuant to Fed. R. Civ. P. 38(b).

                                        Affirmative Defenses

1. Plaintiff’s Amended Complaint fails to state a claim upon which relief can be granted.

2. Some or all of Plaintiff’s claims are barred by the doctrine of sovereign immunity, the

   Eleventh Amendment, or both.

3. Title II of the ADA is not a valid exercise of Congress’s authority under section 5 of the

   Fourteenth Amendment as applied to this case.

4. Plaintiff cannot establish a class action, as this action does not involve common questions of

   law and fact applicable to each Class member that predominate over questions that affect

   only individual Class members.

5. Plaintiff cannot fairly and adequately protect the interests of any class in this action.

6. Government Defendants did not violate a clearly established constitutional right of Plaintiff,

   and Government Defendants are therefore entitled to qualified immunity.

7. Government Defendants did not act with deliberate indifference or any requisite state of

   mind for any of the alleged constitutional violations.

8. Government Defendants lacked personal or direct involvement in any of the alleged

   violations of Plaintiff’s rights.

9. Plaintiff’s claims are barred for failure to exhaust administrative remedies under the Prison

   Litigation Reform Act, 42 U.S.C. § 1997e(a), and thus Plaintiff is barred from serving as a

   class representative.



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10. Government Defendants assert each and every defense available under the Americans with

    Disabilities Act, 42 U.S.C. §§ 12131 eq. seq.

11. Plaintiff and other class members are not qualified individuals with a disability.

12. The Americans with Disabilities Act does not permit recovery against a governmental entity

    on the basis of vicarious liability.

13. Government Defendants assert all defenses set forth in the Prison Litigation Reform Act, 42

    U.S.C. § 1997e.

14. Any and all damage or injury allegedly sustained by Plaintiff resulted not from the conduct

    or acts of Government Defendants, but from the conduct or acts of Plaintiff or other persons.

15. The acts or omissions of the Government Defendants alleged to constitute deliberate

    indifference, cruel and unusual punishment, or a constitutional violation were not substantial

    causes or factors in the alleged injuries sustained by Plaintiff.

16. Plaintiff has failed to mitigate damages and is therefore barred from recovery against

    Government Defendants.

17. Plaintiff lacks standing to bring some or all of his claims.

18. Plaintiff is not entitled to declaratory or injunctive relief. Declaratory relief is unavailable to

    solely have the Court declare that actions of Government Defendants have violated Plaintiff’s

    rights. Injunctive relief is further unavailable where Plaintiff’s request for relief is moot.

19. Some or all of Plaintiff’s claims are barred by the applicable statute of limitations.




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       WHEREFORE, Government Defendants request Plaintiff’s First Amended Complaint be

dismissed and judgment be entered in favor of Government Defendants and against Plaintiff,

along with costs, attorneys’ fees, and expenses, and any other relief deemed necessary.

Respectfully submitted,

August 27, 2019                                     AARON M. FREY
                                                    Attorney General

                                                    /s/ Jonathan R. Bolton
                                                    Jonathan R. Bolton
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 27, 2019, I electronically filed the above document with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all

registered counsel of record.

       To my knowledge, there are no parties or attorneys participating in this case who are not

registered with CM/ECF.




August 27, 2019                                     /s/ Jonathan R. Bolton
                                                    JONATHAN R. BOLTON
                                                    Assistant Attorney General
                                                    jonathan.bolton@maine.gov




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